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                                                                                      Exhibit G, p. 1




  July 19, 2018

  Mr. Vu Tran (Owner)
  Sam’s Spa Nail Supply
  3325 W Walnut Street #500
  Garland, TX 75042
  via regular and certified mail: 7011 2970 0003 2377 3680

         Re:      Patent Infringement of Luraco Patents by Sam's Spa Nail Supply salon products

  Dear Mr. Tran,

  We are intellectual property counsel for Luraco Health & Beauty, LLC, which is licensed by
  Luraco, Inc for using U.S. utility patents 9,926,933 (Bearing and Shaft Assembly for Jet
  Assemblies) and 9,855,188 (Multifunctional Magnetic Coupling Jet), and design patents
  D622,736 (Jet Pump Housing), D698,368 (Magnetic Pump Wet End), and D751,723 S (Foot
  Spa).

  A comparison of the claims of the utility patents above with your product offering reveals an
  apparent infringement by your products, particularly the shaft and bearing assemblies concerning
  the base, cap, and impeller of patent 9,926,933, and 9,855,188. See enclosed Exhibits A, B, C.

  This is the second letter we have sent you on this matter; the United States Postal Service shows
  that you received it by certified mail on June 14th. I am sending this second letter because the
  first one did not include the full allegations of infringement. Otherwise I would proceed with the
  next step of litigation.

  Luraco still desires to amicably resolve this matter and is willing to discuss selling its products to
  you and eliminate dispute. However, until this matter is resolved, it is requested that all
  organizations affiliated with you cease selling or offering for sale spa pumps and foot spas.

  You can contact me through email or phone, as provided below. Please contact me within two
  weeks of receiving this letter. I will assume that I should counsel stronger measures if you make
  no attempt to contact me during that time.

  Respectfully,
  s/Warren V. Norred/
  Warren V. Norred, for Luraco Health & Beauty, LLC
  wnorred@norredlaw.com

  Enclosures: Exhibits A, B, & C



  Luraco – Cease and Desist – Sam's Spa Nail Supply (Second Letter)                            Page 1 of 1

                   515 E. Border St.  Arlington, TX 76010  O 817-704-3984  F 817-524-6686
Exhibit A                                                                 Exhibit G, p. 2
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                                          SAM’s Mini Pedicure Spa
                              EXHIBIT A
                                              Exhibit A

     ACCUSED SAM’S KID PEDICURE SPA
                       (Purchased Evident)




Label shows:
1. Model: Bellagio
2. cULus listed
3. Made in USA
4. Manufactured by: GTP International Corp.
                                                          Exhibit G, p. 3
                                                                 Case 4:19-cv-00051-ALM-KPJ Document 16-7 Filed 02/15/19 Page 3 of 20 PageID #: 513
Exhibit A                                                                  Exhibit G, p. 4
            Case 4:19-cv-00051-ALM-KPJ Document 16-7 Filed 02/15/19 Page 4 of 20 PageID #: 514



            ACCUSED SAM’S KID PEDICURE SPA
                                             (At SAM SPA’s Client Salon)
Exhibit A                                                                 Exhibit G, p. 5
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            ACCUSED SAM’S KID PEDICURE SPA
                                             (At SAM SPA’s showroom)
Exhibit A                                                                 Exhibit G, p. 6
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            SAM’S KID PEDICURE SPA
                                     (At SAM SPA’s showroom)
                                                                               Exhibit G, p. 7
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                                ACCUSED SAM’S SPA JET
                                                        (Purchased Evidence)
          EXHIBIT B
                                                                               Exhibit G, p. 8
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                                                                               Front cover
                                               Assembly
                                               Bearing
ACCUSED SAM’S SPA JET
                        (Purchased Evidence)




                                                              Shaft Assembly
                                               Jet Assembly
                                               Base
                                                                                 Exhibit G, p. 9
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                                                 Front cover




                                                                          Base
   ACCUSED SAM’S SPA JET
                           (Purchase Evidence)




                                                               Magnetic
                                                               Impeller
                                                             Exhibit G, p. 10
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  ACCUSED SAM’S SPA JET
                          (Purchase Evidence)




                                                Mounting
                                                Housing
Exhibit C                                                                               Exhibit G, p. 11
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Exhibit C                                                                               Exhibit G, p. 12
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Exhibit C                                                                               Exhibit G, p. 13
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Exhibit C                                                                               Exhibit G, p. 14
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Exhibit C                                                                               Exhibit G, p. 15
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Exhibit C                                                                               Exhibit G, p. 16
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Exhibit C                                                                               Exhibit G, p. 17
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Exhibit C                                                                               Exhibit G, p. 18
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Exhibit C                                                                               Exhibit G, p. 19
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Exhibit C                                                                               Exhibit G, p. 20
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